                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

JOHN RUFFINO and MARTHA )
RUFFINO, Husband and Wife,            )
                                      )
      Plaintiffs,                     )
                                      )     CASE No. 3:17-cv-00725
v.                                    )     Chief Judge Waverly D. Crenshaw
                                      )     Magistrate Judge Alistair Newbern
DR. CLARK ARCHER and HCA              )
HEALTH SERVICES OF TENNESSEE, )             JURY DEMAND
INC. d/b/a STONECREST MEDICAL         )
CENTER                                )
                                      )
      Defendants.                     )
______________________________________________________________________________

          DEFENDANT DR. CLARK ARCHER'S REPLY MEMORANDUM
______________________________________________________________________________

         COMES NOW Defendant, DR. CLARK ARCHER ("Dr. Archer"), by and through

counsel who make a limited appearance, pursuant to Local Rule 7.01(b) and the Court's Order,

and files this Reply Memorandum setting forth further clarification.

         (1)     Plaintiffs failed to serve Dr. Archer because they did not serve his agent.

         "It is well-settled that the plaintiff bears the burden to establish that service was proper

when it is challenged through a Rule 12(b)(5) motion to dismiss for insufficient service of

process."1 Plaintiffs contend that Dr. Archer received sufficient service of process when a

receptionist at the front desk of one of the hospitals signed for certified mail on his behalf.2

Plaintiffs have clearly failed to carry their burden.




     1
       McGehee v. Diversified Glob. Servs., LLC, No. 3:14-1684, 2017 WL 1036432, at *3 (M.D. Tenn. Mar. 17,
2017) (citing Metropolitan Alloys Corp. v. State Metals Indus., Inc., 416 F. Supp. 2d 561, 563 (E.D. Mich. 2006);
Shires v. Magnavox Co., 74 F.R.D. 373, 377 (E.D. Tenn. 1977)).
     2
       See Exhibit A to Plaintiffs' Response to Motion to Dismiss.



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         Although Rule 4.04(10) of the Tennessee Rules of Civil Procedure permits service by

certified mail, Plaintiffs ignore that Rule 4.03(2)3 of the Tennessee Rules of Civil Procedure

defines who may sign the return receipt, which ultimately answers whether a defendant received

service.4 Service on an individual defendant by certified mail requires that the person signing the

return receipt be either the defendant or "'an agent authorized by appointment . . . to receive

service on behalf of' an individual defendant."5                "'In the workplace context, service is not

effective when another employee whom the individual defendant has not appointed as an agent

for service of process nonetheless accepts process on the defendant's behalf."'6 Further, filing the

return receipt is a mandatory requirement that establishes a court's jurisdiction over the

defendant.7

         In the present case, Plaintiffs have neither filed the return receipt identifying the signer

nor have they put forth proof establishing that Dr. Archer authorized that individual to sign for

the mail. Even if they did, "the authority to sign for and receive certified mail does not, without

more, qualify as an agent authorized by appointment to receive service of process on behalf of an

individual defendant."8 Submitting a copy of a U.S. Postal Service tracking page indicating that

someone at the front desk signed for the certified mail is insufficient to carry Plaintiffs' burden.9

Absent proof of who received service, and his or her authority to accept service for Dr. Archer,

Plaintiffs have not carried their burden. To the extent the Court requires further proof from Dr.


     3
       In relevant part, "[i]f the return receipt is signed by the defendant, or by a person designated by Rule 4.04 or
by statute, service on the defendant shall be complete. If not, service by mail may be attempted again or other
methods authorized by these rules or by statute may be used. TENN. R. CIV. P. 4.03
     4
       Hall v. Haynes, 319 S.W.3d 564, 576-77 (Tenn. 2010).
     5
       Id. at 578 (quoting Tenn. R. Civ. Pro. 4.04(1)).
     6
       Cash Am. Int'l, Inc. v. Geico Gen. Ins. Co., No. M201501946COAR3CV, 2016 WL 3476845, at *5 (Tenn. Ct.
App. June 17, 2016) (quoting Hall, 319 S.W.3d at 572).
     7
       Hall, 319 S.W.3d at 577.
     8
       Id. at 581.
     9
       See Exhibit A to Plaintiffs Response to Motion to Dismiss.

                                                          2

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Archer, he has indicated his willingness to execute an affidavit setting forth that he has not

appointed an agent for service of process upon his return to the country within the present month.

          Plaintiffs' contention concerning the active participation by Dr. Archer's counsel is

without merit. "[A]ctual notice of the lawsuit is not 'a substitute for service of process when the

Rules of Civil Procedure so require.'"10           Dr. Archer's awareness of the lawsuit is legally

irrelevant. Otherwise, filing a Rule 12(b)(5) motion to dismiss the suit for failure to serve a

defendant would be an exercise in futility. Accordingly, Plaintiffs failed to carry their burden in

proving service of process on Dr. Archer, and the action should be dismissed.

          (2) Plaintiffs' suit is barred by their failure to comply with Tennessee's pre-suit
              notice requirements for a healthcare liability action.

          In addition to Plaintiffs' failure to serve Dr. Archer, their claims are subject to a far more

fatal error. Plaintiffs' certificate of mailing establishes that they failed to comply with Tennessee

Code Annotated section 29-26-121; thus, they did not receive an extension to the statute of

limitations, and their claims are to be dismissed with prejudice. Tennessee Code Annotated

section 29-26-121 provides one way to establish that an individual provider was mailed the pre-

suit notice within the statute of limitations. "Compliance with subdivision (a)(3)(B) [subsection

dealing with mailing notice] shall be demonstrated by filing a certificate of mailing from the

United States postal service stamped with the date of mailing and an affidavit of the party

mailing the notice establishing that the specified notice was timely mailed by certified mail,

return receipt requested."11 The pertinent subsection provides:

                 (B) Mailing of the notice:
                       (i) To an individual health care provider at both the address
                       listed for the provider on the Tennessee department of
                       health web site and the provider's current business address,

     10
        Hall, 319 S.W.3d at 572 (quoting Frye v. Blue Ridge Neuroscience Ctr., P.C., 70 S.W.3d 710, 715 (Tenn.
2002)); accord LSJ Inv. Co. v. O.L.D., Inc., 167 F.3d 320, 322 (6th Cir. 1999).
    11
       TENN. CODE ANN. § 29-26-121(a)(4) (emphasis added).

                                                      3

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                        if different from the address maintained by the Tennessee
                        department of health; provided, that, if the mailings are
                        returned undelivered from both addresses, then, within
                        five (5) business days after receipt of the second
                        undelivered letter, the notice shall be mailed in the
                        specified manner to the provider's office or business
                        address at the location where the provider last provided a
                        medical service to the patient."12

         In order to comply with the pre-suit notice requirements, Plaintiffs must file a certificate

of mailing that indicates one of the pre-suit notices was sent by certified mail to Dr. Archer's

address as it is listed on the Tennessee Department of Health's web site. At the time of mailing,

Plaintiffs were aware that the Tennessee Department of Health's website listed Dr. Archer's

address as "Brentwood, TN 37027."13 Plaintiffs' certificate of mailing conclusively establishes

that they did not mail a pre-suit notice to this address.14

         Instead, Plaintiffs seek to beguile the Court into holding that the statute does not require

this step. Although the Tennessee Supreme Court has held that substantial compliance with

Tennessee Code Annotated sections 29-26-121(a)(3)(B) and (a)(4) is sufficient, the court limited

its holding to deviations concerning the "method of service—'certified mail, return receipt

requested'—or the proof of service requirement—'filing a certificate of mailing from the United

States [P]ostal [S]ervice.'"15 As a result, the court held that substantial compliance occurred

when plaintiffs used private commercial carriers instead of the U.S. Postal Service to send the

pre-suit notices to the addresses in the order they are listed in the statute.16 On the other hand, as

is the present case, when plaintiffs disregard the statute's progression of addresses, they are not in

substantial compliance.

    12
       TENN. CODE ANN. § 29-26-121(a)(3)(B)(i) (emphasis added).
    13
       See Exhibit 1A to Complaint; Plaintiffs' Response to Motion to Dismiss.
    14
       See Exhibit 1B to Complaint.
    15
       Arden v. Kozawa, 466 S.W.3d 758, 764 (Tenn. 2015) (quoted authorities omitted).
    16
       Id.

                                                      4

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          Only after both letters were returned undelivered, and within five (5) business days after

receiving the second undelivered letter, may Plaintiffs then mail pre-suit notice to the address

where the medical services were last provided to Mr. Ruffino. Here, that never occurred. Even

if it did, Plaintiffs are still required to file a certificate of mailing that demonstrates this attempt.

To find otherwise completely dispenses with the statute's five (5) day deadline. The record is

clearly devoid of any such attempt.17

          Plaintiffs do not contest that they never attempted to comply with this statutory

requirement. Rather, Plaintiffs now ask the Court to excuse compliance and permit them to

circumvent the statute of limitations. When Plaintiffs filed the Complaint, it was beyond the

statute of limitations because their non-compliance with the pre-suit notice requirements did not

operate to extend the statute of limitations.18 Consequently, Plaintiffs' claims are barred, and

their claims should be dismissed with prejudice on statute of limitations grounds.

          In conclusion, for the forgoing reasons, Plaintiffs' claims against Dr. Archer should be

dismissed with prejudice.

                 Respectfully submitted on this 19th day of June 2017.

                                                    HALL BOOTH SMITH, P.C.

                                                    By:      /S/ James Looper, Esq.
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                                                             424 Church St., Ste. 2950
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     17
        See Exhibit 1B to Complaint.
     18
        TENN. CODE ANN. § 29-26-121(c) ("When notice is given to a provider as provided in this section, the
applicable statutes of limitations and repose shall be extended for a period of one hundred twenty (120) days from
the date of expiration of the statute of limitations and statute of repose applicable to that provider.").

                                                        5

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                                CERTIFICATE OF SERVICE

       I hereby certify that: I have this 19th day of June 2017, served all parties in this matter
with the foregoing DEFENDANT DR. CLARK ARCHER'S REPLY MEMORANDUM by
CM/ECF, to counsel of record as follows:

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                                                    HALL BOOTH SMITH


                                             By:    /S/ James Looper, Esq.




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